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 2
                            UNITED STATES DISTRICT COURT
 3
                           CENTRAL DISTRICT OF CALIFORNIA
 4
                                 WESTERN DIVISION
 5

 6
      UNITED STATES OF AMERICA,          )
 7                                       )
                                         )
 8                PLAINTIFF,             )
                                         )
 9                 V.                    )
                                         )   20-MJ-01341
10                                       )   LOS ANGELES, CALIFORNIA
      KEITH LAWRENCE MIDDLEBROOK,        )
11                                       )   MARCH 27, 2020
                                         )   (1:04 P.M. TO 1:48 P.M.)
12                                       )
                  DEFENDANT.             )
13                                       )

14
                                   DETENTION HEARING
15
                        BEFORE THE HONORABLE JOHN E. MC DERMOTT
16                           UNITED STATES MAGISTRATE JUDGE

17
      APPEARANCES:                 SEE NEXT PAGE
18
      COURT REPORTER:              RECORDED; COURT SMART
19
      COURTROOM DEPUTY:            SHARON LORENZO
20
      TRANSCRIBER:                 DOROTHY BABYKIN
21                                 COURTHOUSE SERVICES
                                   1218 VALEBROOK PLACE
22                                 GLENDORA, CALIFORNIA      91740
                                   (626) 963-0566
23

24
      PROCEEDINGS RECORDED BY ELECTRONIC SOUND RECORDING;
25    TRANSCRIPT PRODUCED BY TRANSCRIPTION SERVICE.
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                                                                          2

 1    APPEARANCES:

 2    FOR THE PLAINTIFF UNITED STATES OF AMERICA:

 3                NICOLA T. HANNA
                  UNITED STATES ATTORNEY
 4                BRANDON FOX
                  CHIEF, CRIMINAL DIVISION
 5                ASSISTANT UNITED STATES ATTORNEY
                  BY: VALERIE MAKAREWICZ
 6                ASSISTANT UNITED STATES ATTORNEY
                  312 NORTH SPRING STREET
 7                LOS ANGELES, CALIFORNIA 90012

 8
      FOR THE DEFENDANT KEITH LAWRENCE MIDDLEBROOK:
 9
                  AMY KARLIN, ACTING
10                FEDERAL PUBLIC DEFENDER
                  BY: IJEOMA UCHECHI EKE
11                DEPUTY FEDERAL PUBLIC DEFENDER
                  321 EAST 2ND STREET
12                LOS ANGELES, CALIFORNIA 90012

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 1                                  I N D E X

 2    20-MJ-01341                                              MARCH 27, 2020

 3    PROCEEDINGS:    DETENTION HEARING

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 1                LOS ANGELES, CALIFORNIA; MARCH 27, 2020; 1:04 P.M.

 2                THE CLERK:     UNITED STATES MAGISTRATE JUDGE PRESIDING.

 3                YOU MAY BE SEATED.

 4                THE COURT:     ARE THERE ANY MEMBERS OF THE PRESS

 5    PRESENT?

 6                (NO AUDIBLE RESPONSE.)

 7                THE COURT:     OKAY.

 8                LET'S PROCEED WITH MIDDLEBROOK.

 9                THE CLERK:     CALLING CASE NUMBER 20-1341-M, UNITED

10    STATES OF AMERICA VERSUS KEITH LAWRENCE MIDDLEBROOK.

11                COUNSEL, PLEASE STATE YOUR APPEARANCES.

12                MS. MAKAREWICZ:        GOOD AFTERNOON, YOUR HONOR.

13                ASSISTANT UNITED STATES ATTORNEY VALERIE MAKAREWICZ

14    ON BEHALF OF THE GOVERNMENT.

15                MS. EKE:     GOOD AFTERNOON, YOUR HONOR.

16                IJEOMA EKE.     I CAN SPELL THAT FOR THE COURT REPORTER.

17                I-J-E-O-M-A.     LAST NAME EKE, E-K-E, DEPUTY FEDERAL

18    PUBLIC DEFENDER ON BEHALF OF MR. MIDDLEBROOK, WHO'S PRESENT AND

19    IN CUSTODY TO MY LEFT.

20                THE COURT:     WHAT WAS YOUR LAST NAME AGAIN?

21                MS. MAKAREWICZ:        MAKAREWICZ.

22                THE COURT:     CAN YOU SPELL IT FOR ME.

23                MS. MAKAREWICZ:        CERTAINLY.    M-A-K-A-R-E-W-I-C, AS IN

24    CHARLES, Z, AS IN ZEBRA.

25                THE COURT:     OKAY.
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                                                                          5

 1                 IS THE GOVERNMENT STILL SEEKING DETENTION OF THE

 2    DEFENDANT?

 3                 MS. MAKAREWICZ:   WE HAVE A MODIFIED -- WE'RE NOT,

 4    YOUR HONOR.

 5                 WE ARE SEEKING BOND FOR THE DEFENDANT.

 6                 WE AGREE WITH PRETRIAL IN ITS RECOMMENDATION OF AN

 7    APPEARANCE BOND OF $150,000 ALONG WITH AN AFFIDAVIT OF SURETY

 8    WITHOUT JUSTIFICATION BY DEFENDANT'S MOTHER OR A RESPONSIBLE

 9    THIRD PARTY.

10                 THE COURT:   IN WHAT AMOUNT?

11                 MS. MAKAREWICZ:   PARDON?

12                 THE COURT:   IN WHAT AMOUNT?

13                 MS. MAKAREWICZ:   150,000.

14                 IF I MAY, YOUR HONOR, DEFENDANT HAS A PREVIOUS MATTER

15    IN THE SOUTHERN DISTRICT OF CALIFORNIA BACK IN 2014.

16                 I HAVE CHECKED.   DEFENDANT'S MOTHER STILL OWNS THE

17    SAME RESIDENCE THAT WAS USED AS COLLATERAL IN THE SOUTHERN

18    DISTRICT OF CALIFORNIA'S CASE.

19                 AND IN THAT MATTER THE COURT SET VERY SIMILAR CON- --

20    SIMILAR CHARGES.     THE COURT SET A BOND, THE APPEARANCE BOND OF

21    175,000 WITH AN AFFIDAVIT OF JUSTIFICATION AND A DEEDING OF THE

22    PROPERTY.

23                 THE COURT:   YOU'RE NOT ASKING FOR A DEEDING OF THE

24    PROPERTY HERE?

25                 MS. MAKAREWICZ:   I AM ASKING FOR A DEED, BUT WE WOULD
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                                                                          6

 1    ALTERNATIVELY CONSIDER HIS MOTHER AS SIGNING BECAUSE WE BELIEVE

 2    IF THE DEFENDANT WERE TO VIOLATE HIS BOND, WE WOULD PROCEED TO

 3    MOVE AGAINST THE HOUSE.

 4                THE COURT:    GOTCHA.

 5                MS. MAKAREWICZ:       WE WOULD PREFER THAT THERE WOULD BE

 6    DEEDING.

 7                BUT WE UNDERSTAND THAT DEFENDANT'S MOTHER IS AN

 8    ELDERLY PERSON.     AND GETTING DEEDS OF PROPERTY AT THIS TIME

 9    RECORDED WITH THE COURT MAY BE VERY DIFFICULT FOR SOMEONE OF

10    HER AGE.

11                WE WOULD PREFER THE DEEDING, BUT WE WOULD TAKE ALSO

12    THE AFFIDAVIT OF THE 150 SIGNED BY HIS MOTHER IN THE

13    ALTERNATIVE.

14                THE COURT:    OKAY.

15                ANYTHING FURTHER?

16                MS. MAKAREWICZ:       WE DO REQUEST THE 150,000 AMOUNT.

17                THAT'S IT, YOUR HONOR.

18                THE COURT:    ALL RIGHT.

19                YESTERDAY MR. ANTONY MADE REFERENCE TO ADDITIONAL

20    CONDITIONS --

21                MS. MAKAREWICZ:       YES.

22                THE COURT: -- NOT SET FORTH IN THE PRETRIAL REPORT --

23                MS. MAKAREWICZ:       YES, YOUR HONOR.

24                THE COURT:    -- WHICH HAD TO DO WITH RESTRICTIONS ON

25    USE OF SOCIAL MEDIA, I BELIEVE.
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                                                                          7

 1                MS. MAKAREWICZ:     YES, YOUR HONOR.

 2                THE COURT:     ALL RIGHT.

 3                SO, MY QUESTION IS HAVE YOU SPOKEN WITH DEFENSE

 4    COUNSEL ABOUT YOUR BOND REQUEST AND THE SOCIAL MEDIA

 5    RESTRICTION REQUEST?

 6                MS. MAKAREWICZ:     I APOLOGIZE TO THE COURT.      I SPOKE

 7    TO HER ABOUT MY BOND REQUEST, BUT I DIDN'T SPEAK TO HER ABOUT

 8    THE CONDITIONS.

 9                THE COURT:     WELL, SHE'S AWARE OF IT BECAUSE IT WAS --

10                MS. MAKAREWICZ:     DISCUSSED THOROUGHLY YESTERDAY.

11                THE COURT:     AND MR. ANTONY PUT IT ON THE RECORD, SO.

12                MS. MAKAREWICZ:     YES.

13                BUT I DID GIVE OUR POSITION TO DEFENSE COUNSEL ALONG

14    WITH SUPPORTING PAPERWORK JUST NOW.

15                THE COURT:     ALL RIGHT.

16                MS. EKE, IS -- ARE THESE CONDITIONS ACCEPTABLE?

17                MS. EKE:     NO, YOUR HONOR.

18                WE ARE REQUESTING THAT MR. MIDDLEBROOK'S MOTHER SIGN

19    A 20,000-DOLLAR UNSECURED APPEARANCE BOND.

20                SHE IS CURRENTLY ON SOCIAL SECURITY.        SHE RECEIVES

21    AROUND $800 A MONTH.       TWENTY-THOUSAND DOLLARS WOULD BE ABOUT

22    ONE YEAR WORTH OF HER BENEFITS, AND SHE'S WILLING TO SIGN AN

23    UNSECURED APPEARANCE BOND TO THAT AMOUNT.

24                NOW, THE GOVERNMENT MENTIONED MR. MIDDLEBROOK'S

25    PREVIOUS CASE.     I DON'T KNOW ANYTHING ABOUT THAT CASE OR HIS
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                                                                          8

 1    FINANCES AT THIS TIME.        BUT WHAT WE KNOW IS THAT FOR THIS CASE

 2    HE DOESN'T HAVE ANY FINANCES AS THE GOVERNMENT PROFFERED WHEN

 3    THEY PROFFERED THE PRETRIAL --

 4                THE COURT:     WELL, AS I UNDERSTAND --

 5                MS. EKE:     -- SERVICES REPORT.

 6                THE COURT:     JUST ONE SECOND.

 7                AS I UNDERSTAND WHAT THE GOVERNMENT IS SAYING, IT

 8    DOESN'T HAVE TO BE THE MOTHER.           IT CAN BE ANOTHER RESPONSIBLE

 9    THIRD PARTY.

10                 AM I CORRECT?

11                 MS. MAKAREWICZ:     THAT'S CORRECT, YOUR HONOR.

12                 WE WOULD PREFER THE MOTHER BECAUSE OF THE SECURED

13    HOUSE.

14                 THE COURT:     I UNDERSTAND.

15                 MS. MAKAREWICZ:     YEAH.

16                 THE COURT:     BUT I'M GOING TO COME BACK TO THIS IN A

17    MOMENT AFTER I FINISH WITH MS. EKE -- OR AFTER MS. EKE

18    FINISHES.

19                 MS. EKE:     YES, YOUR HONOR.     UNFORTUNATELY WE DO NOT

20    HAVE ANOTHER THIRD PARTY.        WE HAVE HIS MOTHER.     THAT IS WHO HE

21    HAS.     THAT'S THE FAMILY MEMBER THAT HE HAS.        AND SHE IS WILLING

22    TO DO $20,000.     SHE KNOWS THAT THAT'S ABOUT A YEAR'S WORTH OF

23    SALARY -- OR INCOME FOR HER.        BUT I THINK WHAT'S IMPORTANT IS

24    THAT WE'RE LOOKING FOR THE LEAST RESTRICTIVE MEANS.

25                 NOW, MR. MIDDLEBROOK DOES NOT HAVE ANY OTHER ASSETS.
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                                                                          9

 1    SO, $20,000 --

 2                 THE COURT:     I THINK YOU --

 3                 MS. EKE:     -- HIS MOM LOSING THAT.

 4                 THE COURT:     I THINK YOU SHOULD BE CAREFUL IN THE WAY

 5    YOU PUT THAT.     I DON'T THINK YOU WANT TO BE EMBRACING FROM YOUR

 6    OWN POSITION WHAT ASSETS THIS DEFENDANT HAS OR DOESN'T HAVE

 7    BECAUSE YOU DON'T HAVE ANY PERSONAL KNOWLEDGE.

 8                 DO YOU?

 9                 MS. EKE:     I DO NOT HAVE ANY PERSONAL KNOWLEDGE, YOUR

10    HONOR.

11                 THE COURT:     ALL RIGHT.

12                 LET ME GO -- ONE OF THE THINGS THAT CONCERN ME FROM

13    THE HEARING YESTERDAY, WHICH I WANT TO HAVE SOME DISCUSSION

14    ABOUT, ON PAGE 3 OF YESTERDAY'S REPORT PRETRIAL SAYS:

15                 "THE DEFENDANT DID NOT REPORT ANY ASSETS.

16                  HE ADVISED THAT HE IS LIVING OFF LOANS FROM HIS

17                  COMPANIES.     HIS MONTHLY RENT IS $5,200."

18                 LIVING OFF LOANS FROM HIS OWN COMPANIES IS AN

19    ADMISSION THAT HE HAS ASSETS.        WHAT COMPANIES ARE WE TALKING

20    ABOUT.     WHAT LOANS ARE WE TALKING ABOUT.      WHERE'S THE PAPERWORK

21    ON THAT.     LIVING OFF LOANS FROM HIS COMPANIES.       THAT'S AN

22    ASSET.     I MEAN, HE OBVIOUSLY OWNS COMPANIES, AND HE'S TAKING

23    THE MONEY FROM THOSE COMPANIES TO PAY FOR EXPENSES INCLUDING

24    RENT.    IN FACT, IF YOU TAKE THE MONTHLY RENT OF $5,200, THAT'S

25    $60,000 A YEAR.
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  1               IT'S VERY DIFFICULT FOR ME TO HAVE ANY BELIEF IN AN

  2    ASSERTION THAT THIS DEFENDANT DOES NOT HAVE ASSETS.

  3               MS. EKE:     YES, YOUR HONOR.    IT'S MY UNDERSTANDING

  4    THAT HE USED TO HAVE ASSETS AS IS REPORTED IN THE PRETRIAL'S

  5    REPORT THAT WAS GIVEN TODAY.      THEY MENTION THAT HE HAD ASSETS.

  6               AND IN THEIR REPORT THEY EVEN INDICATED THAT BASED ON

  7    THEIR INVESTIGATION IT WAS UNCLEAR IF HE STILL HAD THOSE

  8    ASSETS.

  9               HE DOES NOT HAVE THOSE ASSETS AS IS REPORTED --

 10               THE COURT:     ARE YOU SAYING THAT --

 11               MS. EKE:     -- IN THE PRETRIAL --

 12               THE COURT:     -- AS A STATEMENT OF FACT, OR ARE YOU

 13    STATING THAT AS A STATEMENT OF YOUR OWN PERSONAL BELIEF?

 14               MS. EKE:     I AM STATING THAT BASED ON WHAT WAS

 15    PROFFERED BY THE GOVERNMENT, WHICH IS INCLUDED IN THE PRETRIAL

 16    SERVICES REPORT.

 17               THE COURT:     I'M NOT ASKING ABOUT WHAT WAS PROFFERED

 18    ABOUT THE GOVERNMENT.      I'M ASKING ABOUT WHAT YOU KNOW FROM

 19    SPEAKING WITH THE DEFENDANT.

 20               MS. EKE:     YOUR HONOR, IT'S MY UNDERSTANDING THAT

 21    THERE ARE NO ASSETS TO PUT FORTH IN FURTHERANCE OF THIS BAIL

 22    PACKAGE AS WAS REPORTED TO PRETRIAL SERVICES.

 23               AND IF I MAY, I KNOW PRETRIAL SERVICE THEY DO A GOOD

 24    JOB AND THEY DID THEIR INVESTIGATION.        AND THEY DIDN'T COME

 25    BACK WITH ANY ASSETS BELONGING TO MR. MIDDLEBROOK.
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  1                 THE COURT:    I GOT THE DISTINCT IMPRESSION YESTERDAY

  2    THAT PRETRIAL HAD NOT REALLY DONE MUCH OF A FINANCIAL

  3    INVESTIGATION HERE.       THAT'S WHY I ASKED PRETRIAL THE QUESTION I

  4    DID YESTERDAY.     IT WAS A VERY SHORT DISCUSSION WITH THE

  5    DEFENDANT.     BUT THERE WAS NO -- THERE WERE NO -- THERE WAS NO

  6    ACTUAL FINANCIAL INVESTIGATION.       I DON'T KNOW THAT THERE'S BEEN

  7    A CREDIT REPORT RUN.

  8                 THE INFORMATION ABOUT THE WITNESS'S ASSETS IS

  9    EXTREMELY VAGUE.     WE KNOW FROM INFORMATION PROVIDED JUST IN THE

 10    LAST FEW MINUTES THAT THERE'S -- THERE ARE COMPANIES INVOLVED.

 11                 GOVERNMENT HAVE ANY COMMENT ON THE DEFENDANT'S

 12    ASSETS?

 13                 MS. MAKAREWICZ:    THAT HE'S --

 14                 THE COURT:    PART OF THE REASON I'M GOING THROUGH THIS

 15    IS BECAUSE IT'S GOING TO AFFECT HOW MUCH I INSIST THAT THE

 16    MOTHER COVER.

 17                 MS. MAKAREWICZ:    I AGREE, YOUR HONOR.

 18                 IF DEFENDANT -- WHETHER OR NOT HE OWNS ASSETS IS

 19    QUESTIONABLE.

 20                 THERE ARE COMPANIES WHO -- THERE ARE REGISTERED

 21    CORPORATIONS TO THE DEFENDANT IN THE STATE OF FLORIDA AND IN

 22    THE STATE OF NEVADA.

 23                 WE HAVE NOT YET --

 24                 THE COURT:    THERE'S ALSO REAL PROPERTY IN COLORADO

 25    AND OTHER -- TWO OR THREE OTHER STATES.
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                                                                          12

  1               MS. MAKAREWICZ:      CORRECT.

  2               YOU KNOW, WE -- WE CAN GO BACK TO DEFENDANT'S

  3    REPRESENTATIONS MADE ON SOCIAL MEDIA THAT I CHECKED THIS

  4    MORNING.   DEFENDANT'S WEBSITE STATES THAT HE IS A BILLIONAIRE.

  5    THAT I DON'T KNOW IS EXCEPTIONALLY CREDIBLE.

  6               BUT, YOU KNOW, IN -- I WOULD LIKE TO BRING THE COURT

  7    JUST --

  8               THE COURT:    WELL, WE'VE GOT A 50/50 THING.       EITHER

  9    HE'S GOT A LOT OF MONEY OR HE'S PUFFING AND LYING AND --

 10               MS. MAKAREWICZ:      CORRECT.

 11               I WOULD LIKE TO JUST --

 12               THE COURT:    -- MAKING HIS FRAUD SCHEME TRY TO WORK.

 13               MS. MAKAREWICZ:      RIGHT.

 14               I WOULD LIKE TO DRAW THE COURT'S ATTENTION BACK TO

 15    THE SOUTHERN DISTRICT CASE.       ONLY BECAUSE IN THAT MATTER HE WAS

 16    APPOINTED COUNSEL BECAUSE HE WAS FOUND NOT TO HAVE ANY

 17    FINANCIAL ASSETS.     AND THAT WAS NOT UNDER ANY --

 18               THE COURT:    WHOA, SAY THAT AGAIN.

 19               MS. MAKAREWICZ:      DEFENDANT WAS APPOINTED COUNSEL --

 20               THE COURT:    YES.

 21               MS. MAKAREWICZ:      -- IN THAT MATTER IN 2014 TO THE

 22    FEDERAL PUBLIC DEFENDER'S OFFICE IN SAN DIEGO BECAUSE HE

 23    SUBMITTED A FINANCIAL AFFIDAVIT AND QUALIFIED BECAUSE HE HAD NO

 24    ASSETS AT THAT TIME.

 25               INSTEAD, THE COURT DID ORDER THE DEEDING OF THE
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                                                                            13

  1    PROPERTY OF $175,000.       DEFENDANT WAS ON BOND FOR A YEAR AND

  2    MADE ALL OF HIS -- ALL OF HIS APPEARANCES.

  3                THE COURT:     OKAY.

  4                MS. MAKAREWICZ:        HE WAS ALSO PERMITTED TO TRAVEL.       HE

  5    CHECKED IN WITH PRETRIAL SERVICES BEFORE AND AFTER TO THE POINT

  6    WHERE THE DISTRICT COURT JUDGE IN SAN DIEGO DIDN'T REQUIRE HIM

  7    TO FILE ANY MORE TRAVEL REQUESTS.          HE COULD JUST CLEAR IT WITH

  8    PRETRIAL.    THAT'S BECAUSE HIS FOLKS' HOUSE WAS ON THE LINE.

  9                WE'RE ASKING FOR THE SAME CONDITIONS.        THIS IS AN

 10    EMERGENT AND WIDESPREAD FRAUD THE DEFENDANT HAS DONE TO TAKE

 11    ADVANTAGE OF PANIC CONDITIONS.          WAY DIFFERENT THAN IT WAS IN

 12    2014.

 13                WE'RE ASKING FOR THE SAME AMOUNT, AND, YES, WE WOULD

 14    REQUEST THE DEEDING OF THE PROPERTY.          BUT UNDERSTAND WE HAVE

 15    COMPASSION FOR HIS MOTHER WHO IS ELDERLY AND WOULD DEFER TO THE

 16    COURT ON THAT.

 17                MS. EKE:     YOUR HONOR, IF I MAY?

 18                THE COURT:     OF COURSE.     GO AHEAD.

 19                MS. EKE:     I JUST WANT TO REITERATE THAT

 20    MR. MIDDLEBROOK IS PRESUMED INNOCENT.          SO, AS HE STANDS IN

 21    COURT TODAY --

 22                THE COURT:     OF COURSE.

 23                MS. EKE:     -- HE IS INNOCENT OF ANY OF THE CHARGES

 24    AGAINST HIM.

 25                THE COURT:     OF COURSE.
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                                                                            14

  1               MS. EKE:     AND I THINK THE GOVERNMENT --

  2               THE COURT:     WELL --

  3               MS. EKE:     I THINK THE GOVERNMENT MADE A GREAT

  4    ARGUMENT AS TO HIS PRIOR CASE THAT LASTED FOR TWO YEARS IN

  5    WHICH HE WAS ON PRETRIAL SERVICES' SUPERVISION.          AND HE MADE

  6    EVERY COURT APPEARANCE.      THERE WAS NEVER AN ISSUE.      AND THAT

  7    CASE WAS ULTIMATELY DISMISSED.

  8               HE HAS DEMONSTRATED THAT HE CAN DO WHAT HE NEEDS TO

  9    DO WHEN HIS MOTHER IS ON THE LINE.         HE UNDERSTANDS THAT $20,000

 10    IS HIS MOTHER'S ENTIRE INCOME FOR A WHOLE YEAR.          SHE IS AN

 11    ELDER WOMAN.    HE WOULD NOT TAKE AN ENTIRE YEAR'S WORTH OF

 12    INCOME FROM HIS MOTHER.

 13               SO, WE TALK ABOUT LEAST RESTRICTIVE MEANS TO ASSURE

 14    HIS RETURN TO COURT AND THE SAFETY OF THE COMMUNITY.          HIS

 15    MOTHER'S ENTIRE INCOME FROM -- FOR A YEAR WHEN SHE'S AGEING IS

 16    SUFFICIENT TO SATISFY THAT.         AND SHE IS WILLING TO SIGN --

 17    PRETRIAL TALKED TO HER.      I TALKED TO HER.     SHE IS WILLING TO

 18    SIGN TO SHOW THAT SHE BELIEVES THAT HER SON WILL ACTUALLY COME

 19    TO COURT --

 20               THE COURT:     I'M GOING TO --

 21               MS. EKE:     -- WHEN HE'S SUPPOSED TO.

 22               THE COURT:     I'M GOING TO REQUIRE THAT SOME PORTION OF

 23    THE PROPERTY BE USED FOR SECURITY.         WHAT WE NEED TO DO NOW IS

 24    RESOLVE THE AMOUNT.      I'M NOT INCLINED TO DO 150,000.      I AM

 25    INCLINED TO DO 50, WHICH I THINK IS SUFFICIENT TO PROVIDE A
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                                                                          15

  1    DISINCENTIVE TO FLEE.      WE'RE NOT TAKING ANY INCOME FROM THE

  2    MOTHER.   ALL WE'RE DOING IS PUTTING THE PROPERTY -- USING THE

  3    PROPERTY AS SECURITY.      IF HE MAKES HIS APPEARANCES, IT'S NOT

  4    GOING TO BE A PROBLEM FOR HER.

  5               SO, THAT'S WHAT THE COURT IS GOING TO ORDER.

  6               MS. EKE:     WELL, YOUR HONOR, JUST SO WE'RE CLEAR.

  7               YOU'RE ASKING FOR IT TO BE -- FOR IT TO BE NOT

  8    WITHOUT JUSTIFICATION.      SO, YOU'RE NOT ASKING FOR AN UNSECURED

  9    APPEARANCE BOND.      YOU'RE ASKING FOR A SECURED ONE WITH THE

 10    PROPERTY OR WITH --

 11               THE COURT:     YES.

 12               MS. EKE:     -- YOUR HONOR WOULDN'T BE SATISFIED IF SHE

 13    SIGNED A 50,000-DOLLAR UNSECURED APPEARANCE BOND?

 14               THE COURT:     NO.    I WANT SECURITY.   THAT'S WHY I GAVE

 15    YOU THE -- I MEAN, YOU COULD ARGUE ABOUT THE AMOUNT, BUT SOME

 16    PORTION OF THAT -- OF HER HOUSE IS GOING TO BE USED AS SECURITY

 17    HERE.

 18               MS. EKE:     IN THAT CASE, YOUR HONOR, I AM ASKING THAT

 19    YOU ORDER THESE RELEASE CONDITIONS.        AND THAT IT'S GOING TO

 20    TAKE HER SOME TIME TO ACTUALLY DO THAT, IF SHE'S ABLE TO DO

 21    THAT, ESPECIALLY IN THE TIME THAT WE ARE IN.         SO, I'M ASKING

 22    THAT YOU RELEASE MR. MIDDLEBROOK WITH THESE CONDITIONS AND GIVE

 23    US A TIMEFRAME FOR WHEN WE HAVE TO SATISFY THOSE CONDITIONS OR

 24    RETURN TO COURT.

 25               THE COURT:     WHAT'S THE GOVERNMENT'S VIEW THERE?
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                                                                            16

  1                MS. MAKAREWICZ:     WE WOULD OBJECT, YOUR HONOR.        THIS

  2    IS THE SAME EXACT INSTANCE AS IN SAN DIEGO.         WE DISAGREE WITH

  3    THE COURT, BUT APPRECIATE THE FACT THAT THE AMOUNT WILL BE

  4    SECURED BY THE PROPERTY.       DEFENDANT IS A DANGER --

  5                THE COURT:     YOU DISAGREE BECAUSE YOU WOULD HAVE 150?

  6                MS. MAKAREWICZ:     YES, YOUR HONOR, I WOULD -- I WOULD

  7    DISAGREE.    BUT I DO APPRECIATE THE COURT'S RULING ON THE

  8    SECURITY.    WE WOULD NOT REQUEST THAT.

  9                DEFENDANT IS A DANGER TO THIS COMMUNITY AS MR. ANTONY

 10    EXPRESSED YESTERDAY.       WE WOULD PREFER TO HAVE THIS SECURED AND

 11    DONE BEFORE THE DEFENDANT IS RELEASED.

 12                THE COURT:     I AGREE.

 13                MS. EKE:     YOUR HONOR, IF I MAY.    THE GOVERNMENT NEVER

 14    PROFFERED ANYTHING TOWARDS DANGER TO THE COMMUNITY YESTERDAY.

 15    THEIR ARGUMENT WAS ACTUALLY THAT BECAUSE HE MADE YOUTUBE AND

 16    INSTAGRAM POSTS THAT HE WAS A DANGER.        BUT AS WE DEMONSTRATED,

 17    HE HASN'T HAD ANY CONVICTIONS SINCE THE EARLY 2000S.          AND IT

 18    WAS A MISDEMEANOR.       HE HASN'T DEMONSTRATED ANY KIND OF

 19    VIOLENCE.    HE'S DEMONSTRATED WITH HIS LAST FEDERAL CASE, WHICH

 20    HE WAS ON SUPERVISION FOR TWO YEARS, THAT HE CAN DO WHAT HE

 21    NEEDS TO DO.

 22                THERE HAS BEEN NO -- NOTHING PROFFERED TO SHOW THAT

 23    HE WOULD ACTUALLY BE A DANGER TO THIS COMMUNITY.          AND THE

 24    GOVERNMENT DIDN'T PROFFER ANYTHING TOWARDS THAT END YESTERDAY

 25    AS WELL.    AND I REMEMBER YOUR HONOR SAID SPECIFICALLY WHEN THE
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                                                                          17

  1    GOVERNMENT MADE THEIR ARGUMENTS THAT IT WAS WEAK.          BECAUSE ALL

  2    THEY COULD POINT TO WAS THAT HE ALLEGEDLY MADE YOUTUBE AND

  3    INSTAGRAM PUBLICATIONS.      THAT DOES NOT DEMONSTRATE THAT HE'S A

  4    DANGER TO THE COMMUNITY.      IT DOESN'T SHOW THAT AT ALL.

  5               ALSO, WHEN WE STARTED THIS YESTERDAY, WE TALKED ABOUT

  6    HOW THIS IS A TWO-TIER PROCESS IN DETERMINING WHETHER OR NOT

  7    MR. MIDDLEBROOK COULD BE DETAINED.       THE FIRST IS THAT THE

  8    GOVERNMENT HAD TO SHOW THAT THERE WAS A SERIOUS RISK OF FLIGHT

  9    BEFORE WE COULD EVEN DETERMINE IF DETENTION OR A DETENTION

 10    HEARING WAS WARRANTED.

 11               AGAIN, IN TERMS OF SERIOUS RISK OF FLIGHT, ALL THEY

 12    PROFFERED WAS THE POSTINGS THAT HE MADE.        SO, WE GOT OUT OF THE

 13    REALM OF DETENTION OR RELEASE AND WE WERE ONLY FOCUSED ON THE

 14    CONDITIONS OF RELEASE.

 15               SO, SINCE WE ARE IN AGREEMENT OF THAT, THERE'S

 16    NOTHING TO SHOW THAT HE IS A DANGER TO THE COMMUNITY.           IN FACT,

 17    EVERYTHING THAT THE GOVERNMENT HAS PROFFERED SHOWS THAT HE WILL

 18    COME TO COURT AND THE COMMUNITY WILL BE SAFE AS HAS BEEN

 19    DEMONSTRATED BY HIS PAST HISTORY.

 20               THE COURT:     I AGREE THAT WHAT HAPPENED IN SAN DIEGO

 21    IS EVIDENCE OF -- AGAINST FLIGHT RISK, BUT THAT WAS UNDER

 22    CIRCUMSTANCES WHERE THE HOME WAS USED AS SECURITY AND PROVIDED

 23    A DISINCENTIVE TO THE DEFENDANT TO FLEE.

 24               MS. EKE:     AND DANGER --

 25               THE COURT:     I'D LIKE TO HEAR FROM THE GOVERNMENT
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                                                                          18

  1    REGARDING FLIGHT RISK AND DANGER.

  2               MS. MAKAREWICZ:     CERTAINLY.      THE --

  3               THE COURT:    SHE IS CORRECT -- MS. EKE IS CORRECT I

  4    DID VIEW THE ARGUMENT MR. ANTONY MADE YESTERDAY AS THIN ON

  5    FLIGHT RISK.

  6               MS. MAKAREWICZ:     UNDERSTOOD, YOUR HONOR.

  7               I'D LIKE TO TAKE DANGER TO COMMUNITY FIRST, THOUGH,

  8    YOUR HONOR.

  9               THE COURT:    GO AHEAD.     GO --

 10               MS. MAKAREWICZ:     THE COMPLAINT ALLEGES NOT JUST THAT

 11    DEFENDANT POSTED PUFFING VIDEOS THAT HE HAD THE CURE AND

 12    PREVENTION PILL.     BUT THE COMPLAINT ALLEGES, AND WE WOULD

 13    PROFFER, THE TESTIMONY OF FBI SPECIAL AGENT MADISON MC DONALD,

 14    WHO DID THE ARREST, THAT MR. "MIDDLETON" CAME TO A MEETING ON

 15    WEDNESDAY WILL PILLS TO PURCHASE AND SELL -- TO SELL THEM TO

 16    THE UNDERCOVER.

 17               FOUND IN HIS CAR WAS ALSO A LARGE QUANTITY OF PILLS.

 18    THEY'VE BEEN SENT OR IN THE PROCESS OF BEING SENT TO THE DEA.

 19               IT'S NOT JUST THE POSTING OF THE VIDEOS.         THAT'S NOT

 20    THE FRAUD THAT OCCURRED HERE.        THE FRAUD OCCURRED WITH GETTING

 21    INVESTORS INVOLVED IN HIS ALLEGED CURE AND PURPORTED PREVENTION

 22    PILL AND, ALSO, ARRANGING A BUY WITH THE UNDERCOVER.

 23               NOW, FLIGHT RISK -- AGAIN, I UNDERSTAND THAT THE

 24    COURT'S POSITION OF THE SOUTHERN DISTRICT, BUT WE FEEL WITH THE

 25    SECURITY THAT WE -- WE FEEL MORE CONFIDENT THAT HE IS LESS OF A
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                                                                             19

  1    FLIGHT RISK.

  2                I ALSO NOTE THAT DEFENDANT STATED THAT HE HAS NO

  3    PASSPORT.    IN THE SOUTHERN DISTRICT HE WAS ORDERED TO TURN OVER

  4    HIS PASSPORT.     NOW, THAT WAS 2014.     AND TODAY IS 2020.        BUT I

  5    DON'T KNOW IF HE HAS A PASSPORT.        AND, OF COURSE, THE COURT HAS

  6    HEARD MANY ARGUMENTS ABOUT HOW IT TAKES A DRIVE TO MEXICO FOR A

  7    DEFENDANT TO FLEE.       SO, THAT'S NOT MY STRONGEST ARGUMENT.

  8                MY ARGUMENT IS THAT FLIGHT RISK IS MITIGATED --

  9                THE COURT:     MS. EKE, DID THE DEFENDANT SIGN A

 10    DECLARATION OF --

 11                MS. EKE:     YOUR HONOR, I HAVE A DIRECT DECLARATION --

 12    DEC-LOW -- EXCUSE ME -- (LAUGHTER).        I CAN'T EVEN SAY THE WORD.

 13    I HAVE THE FORM THAT I WENT THROUGH WITH MR. MIDDLEBROOK.              HE

 14    WAS ISSUED A PASSPORT.       IT HAS SINCE BEEN EXPIRED.     HE NO

 15    LONGER HAS IT.

 16                I WAS GOING TO SIGN IT ON HIS BEHALF LIKE I DID THE

 17    OTHER DOCUMENTS YESTERDAY.       BUT I DID TALK TO HIM ABOUT IT.            HE

 18    HAD A PASSPORT.     IT'S EXPIRED.    HE NO LONGER HAS IT.      HE

 19    UNDERSTANDS THAT HE CANNOT APPLY TO GET IT RENEWED OR GET A NEW

 20    PASSPORT OR ANY TRAVEL DOCUMENT IN THE FUTURE.         I DO HAVE THAT

 21    FORM THAT I FILLED OUT WITH MR. MIDDLEBROOK.

 22                MS. MAKAREWICZ:     DEFENDANT LIED.    HE SAYS IN THE

 23    PRETRIAL DEFENDANT IS A U.S. CITIZEN AND DOES NOT POSSESS A

 24    U.S. PASSPORT.

 25                MS. EKE:     YOUR HONOR, THAT'S CORRECT.     HE DOES NOT
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                                                                          20

  1    POSSESS IT.    HE NO LONGER HAS THE PASSPORT AT ALL WHATSOEVER.

  2                MS. MAKAREWICZ:     HE DIDN'T TELL PRETRIAL WHETHER OR

  3    NOT HE HAS AN EXPIRED PASSPORT.       A PASSPORT IS A PASSPORT.         HE

  4    COULD SAY THAT HE TRAVELED 12 YEARS AGO TO THE BAHAMAS AND A

  5    YEAR AGO TO ROSARITO, BUT APPARENTLY HE DIDN'T USE HIS PASSPORT

  6    FOR THAT BECAUSE IT WAS EXPIRED.

  7                MS. EKE:     YOUR HONOR, I THINK THAT'S IN- --

  8                THE COURT:     THE PILLS ARE BOGUS, RIGHT?

  9                MS. MAKAREWICZ:     WE HAVE NO IDEA.    GOD HOPE -- I HOPE

 10    THEY ARE.

 11                THE COURT:     WE DON'T KNOW WHETHER THEY'RE --

 12                MS. MAKAREWICZ:     I HOPE TO GOD THEY ARE.

 13                THE COURT:     DO WE HAVE ANY EVIDENCE OF ANY INVESTORS

 14    PUTTING UP MONEY?

 15                MS. MAKAREWICZ:     WE'RE GATHERING THAT, YOUR HONOR.

 16                WE HAD THE EVIDENCE IN THE COMPLAINT THAT HE SAID TO

 17    THE U.C. UNDERCOVER THAT THIS WAS AN INVESTMENT FOR 300- TO

 18    400,000 DOLLARS.

 19                THE COURT:     I READ THE AFFIDAVIT.

 20                MS. EKE:     YOUR HONOR, IF I MAY.

 21                AS FAR AS I KNOW, THE ANSWER TO THAT IS NO.         AND WE

 22    ARE DOING HIS DETENTION HEARING RIGHT NOW SO WE CAN ONLY GO

 23    BASED ON WHAT WE KNOW.       AS FAR AS I KNOW, THE ALLEGATION IS IS

 24    THAT THERE IS NOT ANY MONEY THAT WAS RECEIVED.         THAT WAS THE

 25    INFORMATION THAT I GOT WHEN I TALKED TO THE AUSAS THAT WERE
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                                                                           21

  1    HERE YESTERDAY.

  2               MS. MAKAREWICZ:     DEFENDANT SAYS IN RECORDED PHONE

  3    CALLS THAT HE HAS INVESTORS WHO ARE BEGGING HIM TO INVEST --

  4    KEVIN DURANT, MAGIC JOHNSON, OTHER SPORTS FIGURES -- OH, JAY-Z,

  5    THAT PEOPLE ARE -- NOW, AGAIN, WE'RE BACK TO --

  6               THE COURT:     ALL OF WHICH COULD BE BLOWING SMOKE.

  7               MS. MAKAREWICZ:     -- DEFENDANT'S CREDIBILITY.

  8               A HUNDRED PERCENT YOUR HONOR.        BUT HE'S ACTIVELY

  9    PARTICIPATING IN AN UNDERCOVER WITH A GUY HE DOESN'T EVEN KNOW

 10    TO GET MONEY FOR HIS INVESTMENTS.

 11               MS. EKE:     AND, YOUR HONOR, JUST SO WE'RE BACK ON THE

 12    ISSUE.   THE ISSUE IS WHETHER OR NOT YOUR HONOR WOULD PERMIT US

 13    -- OR PERMIT MR. MIDDLEBROOK TO BE RELEASED --

 14               THE COURT:     THAT'S WHAT --

 15               MS. EKE:     -- AND GIVE US A DATE --

 16               THE COURT:     -- I WAS JUST ABOUT TO SAY.      I MEAN, WE

 17    NEED TO UNDERSTAND THAT THE CONTEXT HERE IS ARE WE GOING TO

 18    ALLOW HIM TO BE RELEASED BEFORE --

 19               MS. MAKAREWICZ: ABSOLUTELY.

 20               THE COURT:     -- THE PROPERTY IS USED AS --

 21               ENTER ALL THE PAPERWORK FOR THE PROPERTY -- THAT

 22    WE'RE GOING TO USE FOR SECURITY IS --

 23               MS. MAKAREWICZ:     IN THIS DAY --

 24               THE COURT:     -- COMPLETED.

 25               MS. MAKAREWICZ:     EXCUSE ME FOR INTERRUPTING, YOUR
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                                                                           22

  1    HONOR.

  2                 IF THE COURT IS GOING TO LET THE MOM PUT UP PART OF

  3    THE HOME, THAT COULD TAKE WEEKS AND MONTHS IN THIS TIME.

  4                 I HAD A PROPERTY DEEDED IN FRONT OF JUDGE WALSH THAT

  5    TOOK SIX WEEKS WHILE THE DEFENDANT WAITED IN MDC.          HE WAS NOT A

  6    FLIGHT RISK.     HIS ISSUE WAS -- EXCUSE ME.       HE WASN'T A DANGER

  7    TO THE COMMUNITY.       HIS ISSUE WAS FLIGHT RISK.     THAT UNDER

  8    NORMAL CIRCUMSTANCES TOOK SIX WEEKS TO HAPPEN.

  9                 IF WE'RE GOING TO LET THE DEFENDANT OUT PRIOR TO

 10    THIS, THERE IS NO TEMPORAL -- THERE IS NO TIMEFRAME.          AND WE'RE

 11    GOING TO HAVE TO KEEP COMING BACK TO THE COURT UNTIL THIS IS

 12    DONE.

 13                 IT BEHOOVES THE DEFENDANT AND HIS COUNSEL TO MOVE ON

 14    THIS SO IT GETS HIM OUT QUICKER.          BUT IN THIS DAY AND AGE THE

 15    KITSAP COUNTY IS REMOTELY WORKING.

 16                 MS. EKE:     YOUR HONOR --

 17                 THE COURT:     YOUR COMMENTS ABOUT THE TRANSACTION WITH

 18    THE AGENT WITH THE PILLS, I DON'T RECALL SEEING THAT IN THE

 19    AFFIDAVIT.

 20                 MS. MAKAREWICZ:     THAT HAPPENED AT THE ARREST.

 21                 AND, YOUR HONOR, I HAVE -- WE FILED AN ARREST WARRANT

 22    -- EXCUSE ME, A ROLL-BACK WARRANT WITH JUDGE WILNER TODAY

 23    DESCRIBING THOSE FACTS, IF YOU WOULD LIKE TO SEE THAT, YOUR

 24    HONOR.

 25                 THE COURT:     YES, I WOULD.
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                                                                          23

  1               MS. MAKAREWICZ:       HE HAS SIGNED OFF ON IT.

  2               MAY I APPROACH?

  3               THE COURT:     YES.

  4               (PAUSE IN PROCEEDINGS.)

  5               MS. MAKAREWICZ:       ON THE SECOND PAGE, YOUR HONOR, YOU

  6    CAN SEE AS BEST AS YOU CAN IN A BLACK AND WHITE PHOTO THE

  7    PICTURE OF DEFENDANT'S PASSENGER SEAT WITH PILLS, A BANK OF

  8    AMERICA BAG -- CASH-DROP BAG AND AN ADDITIONAL CELL PHONE.

  9    THAT IS THE ROLL-BACK THAT WE REQUESTED AND WERE GRANTED BY

 10    JUDGE WILNER.

 11               THE COURT:     HAVE YOU SEEN THIS?

 12               MS. EKE:     YOUR HONOR, I WAS GIVEN THIS RIGHT BEFORE

 13    WE ENTERED THE COURTROOM.        I HAVEN'T HAD AN OPPORTUNITY TO

 14    FULLY READ IT.    I'VE ONLY BEEN ABLE TO SKIM IT IN THE TIME THAT

 15    I WAS GIVEN IT.

 16               BUT I WOULD JUST REMIND YOUR HONOR THAT THE

 17    ALLEGATIONS ARE THE FACTORS THAT WEIGH THE LEAST IN TERMS OF

 18    RELEASE AND CONDITIONS FOR THIS EXACT REASON.         WE WERE JUST

 19    HANDED THIS AND HAVEN'T HAD AN OPPORTUNITY TO GO THROUGH IT OR

 20    EVEN CONTEST ITS RELIABILITY OR ACCURACY.

 21               THE COURT:     WELL, I APPRECIATE THAT WE'RE NOT HERE TO

 22    RESOLVE THE MERITS.      BUT IF THE SALE INVOLVED PILLS THAT ARE

 23    POTENTIALLY DANGEROUS, THAT'S CERTAINLY A FACTOR FOR THE COURT

 24    TO CONSIDER AS TO DANGER.

 25               MS. MAKAREWICZ:       YOUR HONOR, IF THE COURT WOULD MAKE
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                                                                          24

  1    IT EASIER, WE COULD PUT AGENT MC DONALD ON THE STAND IN ORDER

  2    TO TELL YOU ORALLY WHAT HAPPENED --

  3               THE COURT:     I'M JUST LOOKING --

  4               MS. MAKAREWICZ: -- AT THE BUST.

  5               THE COURT: -- FOR THE SPECIFIC PARAGRAPH ABOUT THE --

  6               MS. MAKAREWICZ:        I CAN FIND IT FOR THE COURT IF

  7    THAT'S EASIER.

  8               MS. EKE:     YOUR HONOR, JUST SO I'M CLEAR.      ARE YOU

  9    LOOKING FOR SOMETHING THAT STATES WHAT THE PILLS ARE?

 10               THE COURT:     NO.     JUST THE FACT THAT THIS TRANSACTION

 11    WENT DOWN WITH THE AGENT.

 12               MS. MAKAREWICZ:        IF I -- I CAN HAPPILY ASSIST THE

 13    COURT IF I HAD MY COPY BACK.

 14               THE COURT:     HERE.

 15               (PAUSE IN PROCEEDINGS.)

 16               MS. MAKAREWICZ:        FOR THE COURT, IT IS STARTING ON

 17    THIS PAGE 3 THAT I'M HANDING BACK TO THE DEPUTY.

 18               THE COURT:     PAGE 3?

 19               MS. MAKAREWICZ:        HE'LL HAVE IT RIGHT HERE FOR YOU,

 20    YOUR HONOR.

 21               UNDER THE "PURPOSE OF THE AFFIDAVIT."

 22               MS. EKE:     YOUR HONOR, IF I MAY HAVE A MINUTE TO TALK

 23    TO MY CLIENT?

 24               THE COURT:     GO AHEAD.

 25               (MS. EKE CONFERRING WITH CLIENT.)
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                                                                          25

  1               MS. EKE:     YOUR HONOR, I --

  2               THE COURT:     AS FAR AS I'M CONCERNED, THIS SATISFIES

  3    THE DANGER PRONG.

  4               MS. EKE:     WELL, YOUR HONOR, I HAVE ANOTHER

  5    SUGGESTION.

  6               IF WE WERE WORRIED ABOUT WHAT HE'S GOING TO BE DOING

  7    DURING THE TIME BEFORE THE PROPERTY IS SECURED, HE IS WILLING

  8    TO BE ON ELECTRONIC MONITORING SO WE KNOW EXACTLY WHAT HE'S

  9    DOING, WHERE HE'S GOING --

 10               THE COURT:     NO --

 11               MR. EKE:     -- BEFORE THE PROPERTY IS SIGNED.

 12               THE COURT:     WE'RE NOT DOING -- WE'RE NOT DOING GPS

 13    ELECTRONIC MONITORING AS A POLICY MATTER IN VIEW OF THE VIRUS

 14    SITUATION BECAUSE IT INVOLVES PRETRIAL BEING IN TOO CLOSE A

 15    CONTACT WITH SOMEBODY WHO MIGHT POTENTIALLY HAVE THE VIRUS.

 16               WHAT WE HAVE SHIFTED TO -- CORRECT ME IF I'M WRONG --

 17    IS THE BRACE I.D. SYSTEM WHERE THE DEFENDANT CALLS IN AND IS

 18    TRACKED THAT WAY.

 19               MR. EKE:     YOUR HONOR, HE WOULD BE WILLING TO DO THAT.

 20               I THINK WHAT'S IMPORTANT AS THE GOVERNMENT MENTIONED

 21    IS THE LENGTH OF TIME THAT IT TAKES TO GET A DEED ON A NORMAL

 22    BASIS BECAUSE AS WE KNOW WE'RE NOT LIVING IN A NORMAL TIME.

 23               AND I THINK --

 24               THE COURT:     THAT'S FOR SURE.

 25               MR. EKE:     I THINK IF WE AGREE THAT HE IS SOMEBODY WHO
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                                                                          26

  1    CAN BE OUT IN THE COMMUNITY, THEN, I THINK IT'S WORTH IT TO

  2    FIND AN ALTERNATIVE WHILE WE WAIT FOR THIS TO HAPPEN.

  3                 YOUR HONOR COULD SET A COURT DATE OR GIVE US A

  4    DEADLINE AS TO WHEN THIS MUST BE DONE.          AND HE CAN EVEN SHOW UP

  5    TO COURT AND APPEAR IN FRONT OF YOUR HONOR TO SHOW THAT IT HAS

  6    BEEN DONE.     IT HAS BEEN COMPLIED WITH.

  7                 WE ARE ASKING THAT HE BE RELEASED AND NOT BE HELD

  8    CONSIDERING THAT IT MAY TAKE SOME TIME TO GET THIS DONE.

  9                 MS. MAKAREWICZ:       THE GOVERNMENT FINDS THAT IRONIC.

 10                 DEFENDANT WANTS TO SELL PEOPLE PILLS TO CURE THE

 11    COVID VIRUS AND WANTS TO TAKE ADVANTAGE OF THE PANDEMIC TO BE

 12    OUT ON BOND WHILE HE COULD WAIT UNTIL THE PROPERTY IS PROPERLY

 13    DEEDED.

 14                 THE COURT:     THAT'S WHAT WE'RE GOING TO DO.

 15                 MS. MAKAREWICZ:       THANK YOU, YOUR HONOR.

 16                 THE COURT:     YEP.

 17                 NOW, DO YOU WANT TO -- I THINK DANGER HAS BEEN

 18    ESTABLISHED.     AND I -- THAT'S SUFFICIENT FOR US TO HAVE THE

 19    CLIENT REMAIN IN CUSTODY UNTIL THE CONDITIONS OF RELEASE HAVE

 20    BEEN SATISFIED.

 21                 MS. EKE:     YOUR HONOR, IF I MAY SAY ONE LAST THING.

 22                 THE COURT:     GO AHEAD.

 23                 MS. EKE:     I JUST WANT TO BRING THE COURT'S ATTENTION

 24    TO THE FACT THAT ACCORDING TO THE 3142(F) FACTORS, WHEN WE'RE

 25    DEALING WITH A FINANCIAL CRIME, THE ONLY ONE THAT'S RELEVANT IS
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                                                                          27

  1    SERIOUS RISK OF FLIGHT.      WE'RE NOT IN DANGEROUS TERRITORY IN

  2    ORDER TO DETAIN A PERSON.

  3               THE COURT MUST FIND THAT THE GOVERNMENT ESTABLISHED A

  4    SERIOUS RISK OF FLIGHT FOR US TO EVEN BE ABLE TO DETAIN MR.

  5    MIDDLEBROOK.    AND I DON'T THINK WE EVEN MET THAT PRONG.         SO, I

  6    DON'T BELIEVE THE COURT IS ABLE IN LIGHT OF THAT TO DETAIN MR.

  7    MIDDLEBROOK.

  8               I WOULD THINK WE HAVE TO DETERMINE WHAT CONDITIONS

  9    WOULD BE SUITABLE.      AND SINCE WE HAVE COME TO AN AGREEMENT AS

 10    TO SUITABLE CONDITIONS, I THINK IT'S ONLY FAIR THAT MR.

 11    MIDDLEBROOK BE ALLOWED TO BE OUT ON SOME KIND OF MONITORING

 12    WHILE HE'S ABLE TO SECURE THAT DEED AND RETURN TO COURT AND

 13    PROVE THAT TO YOUR HONOR.

 14               THE COURT:     OKAY.

 15               MS. MAKAREWICZ:        DISAGREE, YOUR HONOR.

 16               THE COURT:     YOU NEED TO ADDRESS FLIGHT RISK.

 17               MS. MAKAREWICZ:        FLIGHT RISK, AGAIN, GOES WITH THE

 18    FACT THAT DEFENDANT HAS BEEN ACCUSED OF A CRIME THAT IS HARMFUL

 19    TO THE PUBLIC AND HAS EVERY REASON -- HE'S LIED ABOUT HIS

 20    PASSPORT TO THE PRETRIAL SERVICES.         HE WENT TO ROSARITO AND

 21    APPARENTLY DIDN'T USE HIS PASSPORT.         IT SHOWS THAT THE

 22    DEFENDANT IS WELL EQUIPPED TO KNOW HOW HE CAN LEAVE THIS

 23    COUNTRY.

 24               MS. EKE:     YOUR HONOR, THE GOVERNMENT HAS TO SHOW

 25    SOMETHING MORE THAN JUST ORDINARY RISK OF FLIGHT.          THERE'S A
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                                                                          28

  1    REASON IT'S SERIOUS RISK OF FLIGHT.        IT HAS TO BE SOMETHING

  2    MORE THAN AN ORDINARY RISK OF FLIGHT.        THAT PERSON HAS A

  3    PASSPORT, THEY KNOW HOW TO CROSS A BORDER, THEY CAN LEAVE --

  4    THAT JUST GOES TO ORDINARY RISK OF FLIGHT.

  5               THERE'S A REASON WE ARE IN SERIOUS RISK OF FLIGHT.

  6    AND NONE OF THAT EXISTS IN THIS CASE.

  7               WE HAVE A PERSON WHO THE GOVERNMENT IS ALLEGING LIED

  8    ABOUT HIS FINANCES.      THAT DOESN'T GIVE US SERIOUS RISK OF

  9    FLIGHT.

 10               WE HAVE A PERSON WHO DOES NOT HAVE A PASSPORT.          WE

 11    HAVE A PERSON WHO DOES --

 12               THE COURT:     WELL, IT'S A LITTLE MORE THAN --

 13               MS. EKE:     -- WHO DOESN'T HAVE ANYWHERE TO --

 14               THE COURT: -- LIED ABOUT HIS FINANCES.

 15               MS. EKE:     WELL, AGAIN, THAT'S --

 16               THE COURT:     IT'S ALSO ACTUALLY PEDDLING PILLS THAT

 17    ARE POTENTIALLY DANGEROUS.

 18               MS. EKE:     AGAIN, YOUR HONOR, AND THOSE ARE THE

 19    ALLEGATIONS.    WE DON'T --

 20               THE COURT:     SO, YOU'RE TELLING ME THAT IN A CASE OF

 21    OBVIOUS DANGER TO OTHERS, THAT'S NOT SUFFICIENT FOR ME TO

 22    DETAIN A DEFENDANT UNTIL THE CONDITIONS ARE SATISFIED THAT I'VE

 23    IMPOSED.

 24               MS. EKE:     NO, YOUR HONOR.    IT DEPENDS ON THE ACTUAL

 25    OFFENSES THAT WE ARE DEALING WITH.
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                                                                           29

  1               SO, WHEN WE ARE DEALING WITH FINANCIAL CRIMES, THE

  2    FIRST STEP TO DETERMINING WHETHER OR NOT A DETENTION HEARING

  3    CAN EVEN BE HELD IS WHETHER AN F(1) FACTOR HAS BEEN SATISFIED.

  4               THAT FACTOR HAS TO BE SERIOUS RISK OF FLIGHT.           IT'S

  5    NOT A DANGEROUS -- DANGEROUSNESS DOES NOT COME INTO PLAY HERE.

  6               THE COURT:     OKAY.

  7               MS. EKE:     IT'S WHETHER OR NOT SERIOUS RISK OF FLIGHT

  8    EXISTS.

  9               MS. MAKAREWICZ:        WE'RE NOT ASKING FOR DETENTION.        WE

 10    AGREED TO BOND.

 11               HE'S GOING TO BE DETAINED UNTIL HE CAN MEET THOSE

 12    CONDITIONS.    WE'RE NOT SEEKING DETENTION.

 13               THE COURT:     I THINK THAT'S RIGHT.        AND WE'RE GOING TO

 14    DO IT THAT WAY.

 15               AND HOPEFULLY PEOPLE WILL GET THE PAPERWORK DONE ON

 16    THE REAL ESTATE AS QUICKLY AS POSSIBLE SO THAT THE DEFENDANT

 17    WILL SPEND AS LITTLE TIME INSIDE AS POSSIBLE.

 18               MS. EKE:     THANK YOU, YOUR HONOR.

 19               THE COURT:     ALL RIGHT.      THIS COURT WILL SET BAIL IN

 20    THE AMOUNT OF $150,000.

 21               DO YOU WANT THE ENTIRE AMOUNT OF -- SIGNED BY THE

 22    MOTHER OR SIGNED BY --

 23               MS. MAKAREWICZ:        I WILL TAKE THE --

 24               THE COURT:     -- DEFENDANT?

 25               MS. MAKAREWICZ:        NO.   I WANT THE -- I WANT THE
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                                                                          30

  1    MOTHER.

  2                THE COURT:     ALL RIGHT.

  3                ALL RIGHT.     WE'RE GOING TO DO THE APPEARANCE BOND OF

  4    150,000 SIGNED BY MRS. MARTHA MIDDLEBROOK.

  5                MS. EKE:     YOUR HONOR, I THOUGHT IT WAS 50,000.

  6                THE COURT:     NO.   THE 50,000 IS THE AMOUNT OF

  7    SECURITY.

  8                MS. EKE:     OKAY.

  9                THE COURT:     YOU NEED TO -- THE DEFENDANT NEEDS TO

 10    FILE THE DECLARATION RE PASSPORT AND OTHER TRAVEL DOCUMENTS

 11    WHICH, MS. EKE, YOU INDICATED WOULD DO.

 12                TRAVEL IS RESTRICTED TO THE CENTRAL DISTRICT OF

 13    CALIFORNIA.

 14                THE DEFENDANT IS TO RESIDE AS APPROVED BY PRETRIAL

 15    SERVICES AND NOT RELOCATE WITHOUT PRIOR PERMISSION FROM

 16    PRETRIAL SERVICES.

 17                DEFENDANT IS TO MAINTAIN OR ACTIVELY SEEK EMPLOYMENT

 18    AND PROVIDE PROOF OF SAME TO PRETRIAL SERVICES.

 19                EMPLOYMENT IS TO BE APPROVED BY PRETRIAL SERVICES.

 20                DEFENDANT IS TO AVOID ALL CONTACT, DIRECTLY OR

 21    INDIRECTLY, WITH ANY PERSON WHO IS A KNOWN VICTIM OR WITNESS IN

 22    THE SUBJECT INVESTIGATION OR PROSECUTION.

 23                DEFENDANT IS NOT TO POSSESS ANY FIREARMS, AMMUNITION,

 24    DESTRUCTIVE DEVICES OR OTHER DANGEROUS WEAPONS.

 25                IN ORDER -- AND IN ORDER TO DETERMINE COMPLIANCE MUST
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                                                                          31

  1    AGREE TO SUBMIT TO A SEARCH OF HIS PERSON OR PROPERTY BY

  2    PRETRIAL SERVICES IN CONJUNCTION WITH THE U.S. MARSHAL.

  3               THE DEFENDANT IS NOT TO SELL, TRANSFER, OR GIVE AWAY

  4    ANY ASSET VALUED AT $10,000 OR MORE WITHOUT NOTIFYING AND

  5    OBTAINING PERMISSION FROM THE COURT.

  6               THE DEFENDANT -- THE WAY THE CURRENT FORM IS SET UP,

  7    IT DOESN'T REALLY MAKE REFERENCE TO THE VOICE IDENTIFICATION

  8    SYSTEM.

  9               IS THAT --

 10               UNIDENTIFIED SPEAKER:      I'M SORRY, YOUR HONOR.      I'M

 11    NOT THE PRETRIAL OFFICER.

 12               THE COURT:    OH, ALL RIGHT.

 13               UNIDENTIFIED SPEAKER:      I THINK THAT WOMAN IS.

 14               UNIDENTIFIED SPEAKER:      THERE IS NO PRETRIAL OFFICER

 15    PRESENT.

 16               UNIDENTIFIED SPEAKER:      NO?

 17               THE COURT:    I'M GOING TO DIRECT THE PARTIES TO --

 18    SINCE WE HAVE SOME TIME --

 19               MS. MAKAREWICZ:     I'LL SPEAK WITH PRETRIAL, YOUR

 20    HONOR, TO GET THAT.     AND WE'LL FILE SOMETHING.

 21               THE COURT:    AND WITH -- AND WITH MS. EKE AND --

 22               MS. MAKAREWICZ:     YES, MA'AM.    YES, SIR.

 23               THE COURT:    -- MAKE -- GET AGREEMENT ON THE

 24    FUNCTIONING OF THE VOICE I.D. SYSTEM.

 25               MS. MAKAREWICZ:     YEP.
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  1                THE COURT:     WHICH I'M --

  2                (THE COURT AND CLERK CONFERRING.)

  3                THE COURT:     WHY DON'T YOU GIVE A COPY OF THE EMAIL TO

  4    BOTH COUNSEL AND LET THEM USE THAT AS THE TEMPLATE.

  5                BECAUSE THEY NEED TO AGREE.

  6                (THE COURT AND CLERK CONFERRING.)

  7                THE COURT:     NO.     I'M WILLING TO --

  8                THE CONDITION IS GOING TO BE THAT THE PARTIES AGREE

  9    ON A VOICE I.D. SYSTEM CONDITION OF RELEASE AS SOON AS

 10    POSSIBLE.

 11                MS. MAKAREWICZ:        AGREED.

 12                THE COURT:     MS. EKE.

 13                MS. EKE:     YES, YOUR HONOR.

 14                THE COURT:     OKAY.

 15                NOW, I NEED SOMEBODY TO READ THE --

 16                MS. MAKAREWICZ:        YES.

 17                THE CONDITION --

 18                THE COURT:     -- SOCIAL MEDIA PROHIBITION CONDITION.

 19                MS. MAKAREWICZ:        SLOWLY.

 20                I WOULD ALSO ASK THE COURT THAT NOT ONLY IT APPLY TO

 21    SOCIAL MEDIA BUT TO THE DEFENDANT HIMSELF IN THAT HE IS

 22    PROHIBITED FROM ANY ACTION, WHETHER IT'S ON SOCIAL MEDIA

 23    ACCORDING TO THE FOLLOWING:

 24                DEFENDANT AND ANY PERSON OR ENTITY OPERATING AT HIS

 25    DIRECTION, INCLUDING ANY AGENT, OFFICER OR EMPLOYEE OF HIMSELF
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  1    OR ANY ENTITY HE CONTROLS AND ANY OTHER PERSON OR ENTITY IN

  2    ACTIVE CONCERT OR PARTICIPATION WITH ANY OF THEM, SHALL NOT

  3    PROMOTE, MARKET, ADVERTISE AND/OR SOLICIT INVESTMENTS IN ANY

  4    ENTITY THAT IS PROMOTING, MARKETING AND/OR ADVERTISING ANY

  5    PURPORTED CURE OR PREVENTATIVE TREATMENT OF COVID-19.

  6               I CAN SEND -- I CAN GIVE THIS TO THE CLERK IF THAT'S

  7    HELPFUL.

  8               THE COURT:     WELL, BEFORE YOU DO THAT, I WANT TO MAKE

  9    SURE MS. EKE IS IN AGREEMENT.

 10               MS. EKE:     YOUR HONOR, WE ARE -- WE HAVE NO OBJECTIONS

 11    TO THAT REQUIREMENT.

 12               THE COURT:     OKAY.   GREAT.

 13               ALL RIGHT.

 14               DO YOU UNDERSTAND THESE CONDITIONS OF YOUR RELEASE,

 15    MR. MIDDLEBROOK, THAT I'VE JUST --

 16               THE DEFENDANT:     I'M NOT FAMILIAR WITH A -- WITH A

 17    VOICE-ACTIVATED SYSTEM AT ALL.        BUT MY OWN VITAMINS --

 18               THE COURT:     YOU NEED TO SPEAK MORE CLEARLY INTO THE

 19    MIC.

 20               THE DEFENDANT:     OH --

 21               NO --

 22               THE COURT:     I CAN'T -- I CAN BARELY HEAR YOU.

 23               THE DEFENDANT:     I'M NOT FAMILIAR WITH SOME -- A

 24    VOICE-ACTIVATED SYSTEM.

 25               BUT I JUST WANT TO SAY, YOUR HONOR, I'M -- I'M GOING
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                                                                          34

  1    TO SHOW UP FOR ALL MY APPEARANCES LIKE I DID LAST TIME.

  2                THE COURT:   WELL, YOU WILL CALL IN TO A NUMBER WHICH

  3    THROUGH BIOMETRIC -- OR TECHNOLOGY IT WILL INDICATE WHERE YOU

  4    ARE LOCATED.

  5                THE DEFENDANT:      SO --

  6                THE COURT:   IT'S MEANT AS A LOCATION DEVICE SO THAT

  7    YOU WILL CHECK IN EVERY        -- HOWEVER OFTEN --

  8                THE DEFENDANT:      LIKE ONCE A WEEK.

  9                THE COURT: -- PRETRIAL SERVICES --

 10                THE DEFENDANT:      ONCE A WEEK OR SOMETHING?

 11                THE COURT: -- REQUIRES.

 12                THE DEFENDANT:      LIKE ONCE A WEEK OR SOMETHING?

 13                THE COURT:   NO.     IT WILL BE MORE FREQUENT THAN THAT

 14    I'M SURE.    BUT THAT'S UP TO PRETRIAL.

 15                THE DEFENDANT:      LIKE ONCE A DAY?

 16                THE COURT:   BUT YOU MAKE A PHONE CALL.       AND THAT'S --

 17    SO, YOU KNOW, IT'S JUST BETTER THAN WEARING AN ANKLE MONITOR.

 18                THE DEFENDANT:      OKAY.

 19                THE COURT:   IT SERVES THE SAME PURPOSE.

 20                THE DEFENDANT:      JUST SO I UNDERSTAND, IT'S LIKE ONCE

 21    A DAY I CALL IN TO THE THING?

 22                THE COURT:   THAT WILL ALL GET EXPLAINED ONCE THIS

 23    ADDITIONAL CONDITION GETS WORKED OUT BETWEEN COUNSEL AND

 24    SUBMITTED TO THE COURT --

 25                THE DEFENDANT:      THE OTHER THING --
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                                                                          35

  1                 THE COURT:     -- WHICH YOU ARE INSTRUCTED TO DO

  2    FORTHWITH.

  3                 MS. MAKAREWICZ:     UNDERSTOOD.

  4                 THE DEFENDANT:     IF I COULD BE RELEASED TO HELP MY

  5    MOTHER WITH HER TRANSFER OF THE PROPERTY OR -- THAT'S WHAT I

  6    WAS -- WHAT THAT WAS ABOUT.

  7                 AND I'M -- I'M NO DANGER TO THE COMMUNITY AT ALL.

  8    AND   --

  9                 THE COURT:     THERE'S NOT GOING TO BE ANY RELEASE UNTIL

 10    THE PROPERTY IS SIGNED OVER.

 11                 WHATEVER HELP YOU NEED WE'LL HAVE TO WORK -- YOU

 12    SHOULD WORK OUT WITH PRETRIAL SERVICES.

 13                 IF IT'S NECESSARY TO TRANSPORT YOU TO WASHINGTON --

 14                 IS IT?

 15                 MS. MAKAREWICZ:     YES, YOUR HONOR.   IT'S PORT ORCHARD.

 16                 THE COURT:     IF IT'S NECESSARY TO TRANSFER YOU THERE

 17    IN ORDER TO MAKE THAT HAPPEN, ACCOMPANIED BY A MARSHAL, THEN,

 18    SOMETHING LIKE THAT --

 19                 THE DEFENDANT:     THE OTHER THING ALSO --

 20                 THE COURT: -- MAY BE DONE.

 21                 THE DEFENDANT:     -- 150,000, JUST ONCE WE SECURE THE

 22    --

 23                 WHAT'S THAT?

 24                 (PAUSE IN PROCEEDINGS.)

 25                 THE DEFENDANT:     DON'T -- I UNDERSTAND THE 50,000 ON
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                                                                          36

  1    TOP OF THE 150,000?

  2               THE COURT:     NO.     IT'S 150,000 APPEARANCE BOND, 50,000

  3    OF WHICH IS SECURED BY THE PROPERTY.

  4               THE DEFENDANT:        OKAY.

  5               THE COURT:     NOT 150 PLUS 50.

  6               THE DEFENDANT:        OKAY.

  7               THE COURT:     ALL RIGHT.

  8               NOW --

  9               (THE COURT AND CLERK CONFERRING.)

 10               THE COURT:     AGAIN, DO YOU UNDERSTAND THE TERMS AND

 11    CONDITIONS OF YOUR RELEASE?

 12               THE DEFENDANT:        JUST ONE OTHER THING JUST TO KNOW.

 13               I CAN JUST DELETE THE TWO POSTS --

 14               MS. EKE:     YOU WANT TO STOP --

 15               THE DEFENDANT:        STOP?

 16               MS. EKE:     STOP --

 17               THE DEFENDANT:        WELL, I'M NOT --

 18               MS. EKE:     NO.     STOP.

 19               THE COURT:     WE CAN'T BE HAVING THIS, MS. EKE.

 20               THE DEFENDANT:        OH, WE CAN'T -- OKAY.   ALL RIGHT.      I

 21    UNDERSTAND.

 22               (MS. EKE AND CLIENT CONFERRING.)

 23               THE COURT:     DO YOU UNDERSTAND THE CONDITIONS OF

 24    RELEASE THAT I READ OFF?

 25               THE DEFENDANT:        I -- EX- --
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  1               THE COURT:     YOU HEARD ME -- YOU HEARD THE CONDITIONS

  2    AS I STATED THEM, RIGHT?

  3               THE DEFENDANT:     YES.     CAN I ASK ABOUT THE -- CAN I

  4    ASK ABOUT THE SOCIAL MEDIA PART REAL QUICK OR NO?

  5               MS. EKE:     YOUR HONOR, IF I COULD HAVE ONE MINUTE TO

  6    TALK TO HIM.

  7               (MS. EKE AND CLIENT CONFERRING.)

  8               (THE COURT AND CLERK CONFERRING.)

  9               THE DEFENDANT:     YES, YOUR HONOR.

 10               THE COURT:     LET YOUR COUNSEL MAKE THE ARGUMENT.

 11               MS. EKE:     YOUR HONOR, HE UNDERSTANDS.      HE JUST HAD A

 12    QUESTION ABOUT THE SOCIAL MEDIA RESTRICTIONS.

 13               I JUST ADVISED HIM THAT HE'S NOT ALLOWED TO USE

 14    SOCIAL MEDIA AS THE GOVERNMENT MENTIONED TO PROMOTE, MARKET,

 15    ADVERTISE OR SOLICIT ANY INVESTORS.         BUT HE IS ALLOWED TO USE

 16    SOCIAL MEDIA.

 17               MS. MAKAREWICZ:     HE'S NOT ALLOWED TO USE SOCIAL MEDIA

 18    TO DO WHAT I HAD SAID -- TO PROMOTE OR SOLICIT ANY INVESTMENTS.

 19               THE COURT:     THAT'S JUST WHAT SHE SAID.

 20               MS. MAKAREWICZ:     YES.

 21               THE COURT:     SO, YOU'RE IN AGREEMENT, RIGHT?

 22               THE DEFENDANT:     YES, YOUR HONOR.

 23               THE COURT:     ALL RIGHT.

 24               YOU UNDERSTAND THAT IF YOU VIOLATE ANY OF THESE TERMS

 25    AND CONDITIONS OF YOUR RELEASE, THAT YOUR RELEASE ORDER WILL BE
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  1    REVOKED.   THE BOND WILL BE FORFEIT.        AND THERE WILL BE A

  2    WARRANT ISSUED IMMEDIATELY FOR YOUR ARREST.

  3               DO YOU UNDERSTAND THAT?

  4               THE DEFENDANT:     YES, YOUR HONOR.

  5               THE COURT:     AND YOU'RE PREPARED TO ACCEPT AND AGREE

  6    AND ABIDE BY THESE CONDITIONS?

  7               THE DEFENDANT:     YES, YOUR HONOR.

  8               THE COURT:     OKAY.

  9               (PAUSE IN PROCEEDINGS.)

 10               MS. EKE:     YOUR HONOR, I HAVE A COPY OF THE DEC- --

 11    DECLARATION -- GOT IT THAT TIME.

 12               THE COURT:     YOU'RE SO ARTICULATE, BUT YOU --

 13               MS. EKE:     THAT WORD IS --

 14               (LAUGHTER.)

 15               THE COURT:     -- CAN'T SEEM TO GET THAT WORD OUT.

 16               MS. EKE:     THAT WORD IS NOT WORKING FOR ME.

 17               I SIGNED IT ON BEHALF OF MR. MIDDLEBROOK.

 18               IF YOU WANT TO CONFIRM THAT HE HAS AUTHORIZED ME TO

 19    SIGN IT ON HIS BEHALF.

 20               THE COURT: THE LAST THING WE NEED TO DO IS AGREE ON

 21     --

 22               YOU CAN GIVE THAT BACK TO THE GOVERNMENT --

 23               -- A DEADLINE FOR THE POSTING OF THE PROPERTY.

 24               YOU WANT TO SAY 60 DAYS?

 25               MS. MAKAREWICZ:        YES, YOUR HONOR.
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   1               THE COURT:     AND IF MORE TIME IS NEEDED, YOU CAN ASK

   2   FOR IT.

   3               MS. MAKAREWICZ:        YES, YOUR HONOR.

   4               THE COURT:     OBVIOUSLY, IF YOU CAN GET IT DONE BEFORE

   5   THEN, THAT WOULD BE BETTER BECAUSE YOUR CLIENT WILL GET

   6   RELEASED AS SOON AS IT'S POSTED.

   7               MS. EKE:     YES, YOUR HONOR.

   8               (PAUSE IN PROCEEDINGS.)

   9               THE COURT:     I THINK THAT COVERS EVERYTHING.

 10                MS. MAKAREWICZ:        YES, YOUR HONOR.

 11                THANK YOU.

 12                MS. EKE:     WELL, YOUR HONOR, I HAVE ONE MORE THING TO

 13    PLACE --

 14                (LAUGHTER.)

 15                MS. EKE: -- ON THE RECORD.

 16                I KNOW YOUR HONOR SCHEDULED -- I BELIEVE WE SCHEDULED

 17    A POST-INDICTMENT ARRAIGNMENT YESTERDAY WHEN WE WERE HERE.

 18                IS THAT CORRECT?

 19                I JUST WANTED TO PUT ON THE RECORD I KNOW IN

 20    ACCORDANCE WITH --

 21                MS. MAKAREWICZ:        I'M SORRY.

 22                THE COURT:     ARE YOU TALKING ABOUT THIS CASE?

 23                MS. EKE:     FOR THIS CASE YOUR HONOR GAVE US A COURT

 24    DATE FOR THE POST-INDICTMENT ARRAIGNMENT.

 25                THE COURT:     OKAY.
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   1               MS. EKE:     I JUST WANT TO PLACE ON THE RECORD IN

   2   ACCORDANCE WITH THE POLICIES THAT WE WILL BE WAIVING THE ACTUAL

   3   PHYSICAL APPEARANCE --

   4               THE COURT:     OKAY.

   5               MS. EKE: -- A LOT OF OUR OFFICES -- OUR OFFICE HAS

   6   BEEN DOING THAT DUE TO THE VIRUS.

   7               THE COURT:     RIGHT.

   8               MS. EKE:     MR. MIDDLEBROOK IS WAIVING HIS APPEARANCE

   9   AT THAT ARRAIGNMENT.

 10                I WILL BE FILING SOMETHING, BUT I WANTED TO PLACE IT

 11    ON THE RECORD.

 12                THE COURT:     IS THAT CORRECT, MR. MIDDLEBROOK?

 13                THE DEFENDANT:     YES, YOUR HONOR.

 14                THE COURT:     OKAY.

 15                MS. EKE:     THAT'S ALL, YOUR HONOR.

 16                (PAUSE IN PROCEEDINGS.)

 17                MS. MAKAREWICZ:        WE STILL NEED TO SHOW UP.

 18                (PAUSE IN PROCEEDINGS.)

 19                (MS. EKE AND CLIENT CONFERRING.)

 20                MS. EKE:     YOUR HONOR, THAT'S -- THAT'S ALL WE HAVE.

 21                MS. MAKAREWICZ:        NOTHING, YOUR HONOR.

 22                THE COURT:     THANK YOU, BOTH.

 23                MS. MAKAREWICZ:        THANK YOU, YOUR HONOR.

 24                THE CLERK:     COURT IS IN RECESS.

 25                (PROCEEDINGS ADJOURNED AT 1:48 P.M.)
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   1

   2

   3

   4                          C E R T I F I C A T E

   5

   6
                I CERTIFY THAT THE FOREGOING IS A CORRECT TRANSCRIPT
   7   FROM THE ELECTRONIC SOUND RECORDING OF THE PROCEEDINGS IN THE
       ABOVE-ENTITLED MATTER.
   8

   9
       /S/ DOROTHY BABYKIN                               4/2/20
 10    ______________________________                    ___________
       FEDERALLY CERTIFIED TRANSCRIBER                   DATED
 11    DOROTHY BABYKIN

 12

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